                                                      Entered on Docket
                                                      June 08, 2020
                                                      EDWARD J. EMMONS, CLERK
                                                      U.S. BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA



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                                                    The following constitutes the order of the Court.
 2                                                  Signed: June 8, 2020
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 6                                                  ______________________________________________
                                                    Roger L. Efremsky
 7                            UNITED STATES         U.S. Bankruptcy Judge
                                                   BANKRUPTCY        COURT
                              NORTHERN DISTRICT OF CALIFORNIA
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 9
     In re:
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     Clifford Michael Gordley,                          Case No.: 20-10107-RLE
11
     aka Tsoai M Gordley,
12
     Aliza Alida Gordley,                               Chapter: 7
13
     fka Aliza Gomes
14

15   Debtors.
16
                         AMENDED ORDER VACATING DISCHARGE AND
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                            FINAL DECREE AND REOPENING CASE
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              On 5/19/2020, the Clerk’s Office inadvertently entered the Discharge of Debtor and Final
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     Decree and closed the above captioned case prematurely prior to the deadline for filing
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21   complaints objecting to the discharge or to determine dischargeability of debt, as extended

22   pursuant to Second Amended General Order 40.
23
              In light of the foregoing, and good cause appearing, IT IS ORDERED that the Discharge
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     of Debtor and Final Decree in the above captioned case is hereby vacated, and the case is
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26
     reopened.

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28                                        **END OF ORDER**



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 2                                 COURT SERVICE LIST
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 4   All Recipients
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